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Br Il\liocli‘§h` winistratrix of the
Estate of `Rogelrd @§lvan aka Agustin
fernando l\/Iartinez, Deceased, and as
Parent and Next Friend of Flor Carolina
Martinez Medrano, a Minor, and Jose
Ruben Lara Buendia,

File No. 04-2425-BP

STIPULATION AND MOTION TO

Plaintiffs, AMEND SCHEDULING ORDER

vs.
MCT|ON GHANTED

MCDR, lnc. and M. A. l\/]ortenson
Company,

\_/\__/\__,/\.,/\_/\_/\_/\_/\_/\'/\q./\_/\_/\._/\_/\_/

Defendants.

STIPULATION AND MOTION

lT IS HEREBY STIPULATED AND AGREED by and between plaintiffs Brenda
Medrano and Jose Ruben Lara Buendia (“Plaintiffs”) and defendants M. A. l\/Iortenson
Company and MCDR, Inc. (“Defendants”), by their undersigned attorneys, that, to
accommodate mediation to be held in Memphis between the parties on September 12,
2005, the deadlines established in the Court’s Scheduling Order may be amended as noted
below: A. Factual DiscoveLv_: All factual discovery (Which is limited solely to the
depositions presently noticed by Plaintiffs) shall be completed by October 7, 2005.

B. Filing Dispositive Motions: Dispositive motions Shall be filed With the Court
no later than October 21, 2005.

All other deadlines, including the date for trial, set by the Court in the Scheduling

Order shall remain unchanged The Parties so move the Court for Amendrnent to the

Scheduling Order.

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Dated: ’]¢/¢,M 12 , 2005 ALLEN, SUMMERS, SIMPSON, LILLIE
&
GRESHAM, PLLC

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AND

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Attorneys for Plaintiffs

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ORDER

Upon the foregoing Stipulation, IT IS ORDERED THAT THE COURT’S
SCHEUDLING ORDER IS AMENDED AS FOLLOWS:

A. Factual I)iscovery: All factual discovery (Which is limited solely to the
depositions presently noticed by Plaintiffs) shall be completed by October 7, 2005.

B. Filing Dispositive Motions: Dispositive motions shall be filed With the Court
no later than October 21 , 2005.

All other deadlines, including the date for trial, set by the Court in the Scheduling

Order shall remain unchanged

BY THE COURT:

"’""”P\QQ,,»
Dated: Br\g\jufl' l°l ,2005 l/L/\/

Tlie Honorable Tu M. Pham
Magistrate Judge of U.S. District Court

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 63 in
case 2:04-CV-02425 Was distributed by faX, mail, or direct printing on
August 22, 2005 to the parties listed.

 

 

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